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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY
                                  NEWARK DIVISION



Tyisha N. Robinson, individually and on behalf of all
others similarly situated,                                    Docket No:

                                       Plaintiff,             CLASS ACTION COMPLAINT

                            vs.
                                                              JURY TRIAL DEMANDED
Radius Global Solutions, LLC,

                                       Defendant.


       Tyisha N. Robinson, individually and on behalf of all others similarly situated
(hereinafter referred to as “Plaintiff”), by and through the undersigned counsel, complains, states
and alleges against Radius Global Solutions, LLC (hereinafter referred to as “Defendant”), as
follows:


                                       INTRODUCTION
       1.      This action seeks to recover for violations of the Fair Debt Collection Practices
Act, 15 U.S.C. § 1692, et seq. (the “FDCPA”).


                                  JURISDICTION AND VENUE
       2.      This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. § 1331
and 15 U.S.C. § 1692k(d).




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          3.    Venue is proper under 28 U.S.C. § 1391(b) because a substantial part of the
events or omissions giving rise to the claim occurred in this Judicial District.
          4.    At all relevant times, Defendant conducted business within the State of New
York.


                                             PARTIES
          5.    Plaintiff Tyisha N. Robinson is an individual who is a citizen of the State of New
Jersey residing in Union County, New Jersey.
          6.    Plaintiff is a natural person allegedly obligated to pay a debt.
          7.    Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
          8.    On information and belief, Defendant Radius Global Solutions, LLC, is a
Minnesota Limited Liability Company with a principal place of business in Hennepin County,
Minnesota.
          9.    Defendant regularly collects or attempts to collect debts asserted to be owed to
others.
          10.   Defendant is regularly engaged, for profit, in the collection of debts allegedly
owed by consumers.
          11.   The principal purpose of Defendant's business is the collection of such debts.
          12.   Defendant uses the mails in its debt collection business.
          13.   Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).


                 THE FDCPA AS IT RELATES TO THE CLAIMS HEREIN
          14.   Congress enacted the FDCPA upon finding that debt collection abuse by third
party debt collectors was a widespread and serious national problem. See S. Rep. No. 95-382, at
2 (1977), reprinted in U.S.C.C.A.N. 1695, 1696; 15 U.S.C § 1692(a).
          15.   The purpose of the FDCPA is to protect consumers from deceptive or harassing
actions taken by debt collectors, with the aim of limiting the suffering and anguish often inflicted
by independent debt collectors. Kropelnicki v. Siegel, 290 F.3d 118, 127 (2d Cir. 2002); Russell
v. Equifax A.R.S., 74 F.3d 30, 34 (2d Cir. 1996).
          16.   To further these ends, “the FDCPA enlists the efforts of sophisticated consumers
... as 'private attorneys general' to aid their less sophisticated counterparts, who are unlikely



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themselves to bring suit under the Act, but who are assumed by the Act to benefit from the
deterrent effect of civil actions brought by others.” Jacobson v. Healthcare Fin. Servs., Inc., 516
F.3d 85, 91 (2d Cir. 2008).
         17.     As such, the circumstances of the particular debtor in question have no bearing
as to the question of whether there has been a violation of the FDCPA. See Easterling v.
Collecto, Inc., 692 F.3d 229, 234 (2d Cir. 2012). Indeed, it is not necessary for a plaintiff to
show that he or she was confused by the communication received. Jacobson, 516 F.3d at 91.
Likewise, the plaintiff consumer's actions or inaction in response to a communication from a
debt collector are irrelevant. Thomas v. Am. Serv. Fin. Corp., 966 F. Supp. 2d 82, 90 (E.D.N.Y.
2013).
         18.     Instead, “the test is how the least sophisticated consumer—one not having the
astuteness of a 'Philadelphia lawyer' or even the sophistication of the average, everyday, common
consumer—understands the notice he or she receives.” Russell, 74 F.3d at 34.
         19.     If a debt collector's communication is “reasonably susceptible to an inaccurate
reading” by the least sophisticated consumer, it violates the FDCPA. DeSantis v. Computer
Credit, Inc., 269 F.3d 159, 161 (2d Cir. 2001). Similarly, a communication violates the FDCPA
if it is “open to more than one reasonable interpretation, at least one of which is inaccurate,” or if
the communication “would make the least sophisticated consumer uncertain as to her rights.”
Clomon v. Jackson, 988 F.2d 1314, 1319 (2d Cir. 1993); Jacobson, 516 F.3d at 90.
         20.     The FDCPA is a strict liability statute, and a debt collector's intent may only be
considered as an affirmative defense. 15 U.S.C. § 1692k(c); Ellis v. Solomon & Solomon, P.C.,
591 F.3d 130, 135 (2d Cir. 2010). Likewise, “the degree of a defendant's culpability may only
be considered in computing damages.” Bentley v. Great Lakes Collection Bureau, 6 F.3d 60, 63
(2d Cir. 1993). A single violation of the FDCPA to establish civil liability against the debt
collector. Id.


                          ALLEGATIONS SPECIFIC TO PLAINTIFF
         21.     Defendant alleges Plaintiff owes a debt (“the alleged Debt”).
         22.     The alleged Debt is an alleged obligation of Plaintiff to pay money arising out of
a transaction in which the money, property, insurance, or services which are the subject of the
transaction are primarily for personal, family, or household purposes.



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          23.   The alleged Debt does not arise from any business enterprise of Plaintiff.
          24.   The alleged Debt is a “debt” as defined by 15 U.S.C. § 1692a(5).
          25.   At an exact time known only to Defendant, the alleged Debt was assigned or
otherwise transferred to Defendant for collection.
          26.   At the time the alleged Debt was assigned or otherwise transferred to Defendant
for collection, the alleged Debt was in default.
          27.   In its efforts to collect the alleged Debt, Defendant contacted Plaintiff by letter
(“the Letter”) dated September 14, 2018. (A true and accurate copy is annexed hereto as
“Exhibit 1.”)
          28.   The Letter conveyed information regarding the alleged Debt.
          29.   The Letter is a “communication” as defined by 15 U.S.C. § 1692a(2).
          30.   The Letter was received and read by Plaintiff.
          31.   15 U.S.C. § 1692e protects Plaintiff's concrete interests. Plaintiff has the interest
and right to be free from deceptive and/or misleading communications from Defendant. As set
forth herein, Defendant deprived Plaintiff of this right.
          32.   The deprivation of Plaintiff's rights will be redressed by a favorable decision
herein.
          33.   15 U.S.C. § 1692e prohibits a debt collector from using any false, deceptive, or
misleading representation or means in connection with the collection of any debt.
          34.   15 U.S.C. § 1692e(10) prohibits the use of any false representation or deceptive
means to collect or attempt to collect any debt.
          35.   A debt collection practice can be a “false, deceptive, or misleading” practice in
violation of 15 U.S.C. § 1692e even if it does not fall within any of the subsections of 15 U.S.C.
§ 1692e. Clomon, 988 F.2d at 1318.
          36.   A collection letter violates 15 U.S.C. § 1692e if, in the eyes of the least
sophisticated consumer, it is open to more than one reasonable interpretation, at least one of
which is inaccurate. Clomon, 988 F.2d at 1319.
          37.   A    collection   letter   also    violates   15    U.S.C.     §    1692e    if,   it
is reasonably susceptible to an inaccurate reading by the least sophisticated consumer. DeSantis,
269 F.3d at 161.
          38.   The Letter states, “We would like to offer you the option of settling your account



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for $122.76 in 3 payments starting on 10/05/18.”
          39.   The Letter fails to state, whether the payment must be sent by the consumer, or
received by the Defendant, by the stated deadline.
          40.   The Letter can be interpreted by least sophisticated consumer to mean that such
payment must be mailed to the Defendant by the stated deadline.
          41.   Additionally, the Letter states that “the payments can be no more than 30 days
apart.”
          42.   The Letter fails to clarify whether the payment must be sent by the consumer, or
received by the Defendant, within such 30 day period.
          43.   The Letter does not clarify whether it requires the receipt or the sending of such
installment payment within such 30 day period, in order to avoid the forfeiture of the settlement
offer.
          44.   As a result of the foregoing, in the eyes of the least sophisticated consumer, the
Letter is open to more than one reasonable interpretation, at least one of which is inaccurate.
          45.   Because the Letter is open to more than one reasonable interpretation by least
sophisticated consumer, it violates 15 U.S.C. § 1692e and 1692e(10).
          46.   Because the Letter is reasonably susceptible to an inaccurate reading by the least
sophisticated consumer, it violates 15 U.S.C. § 1692e and 1692e(10).
          47.   For the foregoing reasons, Defendant violated 15 U.S.C. §§ 1692e and 1692e(10)
and is liable to Plaintiff therefor.


                                       CLASS ALLEGATIONS
          48.   Plaintiff brings this action individually and as a class action on behalf of all
persons similarly situated in the State of New York.
          49.   Plaintiff seeks to certify a class of:
                     All consumers to whom Defendant sent a collection letter
                     substantially and materially similar to the Letter sent to Plaintiff,
                     which letter was sent on or after a date one year prior to the filing of
                     this action to the present.

          50.   This action seeks a finding that Defendant's conduct violates the FDCPA, and
asks that the Court award damages as authorized by 15 U.S.C. § 1692k.
          51.   The Class consists of more than thirty-five persons.


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        52.     Plaintiff's claims are typical of the claims of the Class. Common questions of law
or fact raised by this action affect all members of the Class and predominate over any individual
issues. Common relief is therefore sought on behalf of all members of the Class. A class action
is superior to other available methods for the fair and efficient adjudication of this controversy.
        53.     The prosecution of separate actions by individual members of the Class would
create a risk of inconsistent or varying adjudications with respect to the individual members of the
Class, and a risk that any adjudications with respect to individual members of the Class would, as
a practical matter, either be dispositive of the interests of other members of the Class not party to
the adjudication, or substantially impair or impede their ability to protect their interests.
Defendant has acted in a manner applicable to the Class as a whole such that declaratory relief is
warranted.
        54.     Plaintiff will fairly and adequately protect and represent the interests of the Class.
The management of the class is not extraordinarily difficult, and the factual and legal issues
raised by this action will not require extended contact with the members of the Class, because
Defendant's conduct was perpetrated on all members of the Class and will be established by
common proof. Moreover, Plaintiff has retained counsel experienced in actions brought under
consumer protection laws.


                                         JURY DEMAND
        55.     Plaintiff hereby demands a trial of this action by jury.


                                     PRAYER FOR RELIEF
        WHEREFORE, Plaintiff respectfully requests judgment be entered:
                    a. Certifying this action as a class action; and

                    b. Appointing Plaintiff as Class Representative and Plaintiff's attorneys as
                    Class Counsel;

                    c. Finding Defendant's actions violate the FDCPA; and

                    d. Granting damages against Defendant pursuant to 15 U.S.C. § 1692k; and

                    e. Granting Plaintiff's attorneys' fees pursuant to 15 U.S.C. § 1692k; and

                    f. Granting Plaintiff's costs; all together with


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               g. Such other relief that the Court determines is just and proper.

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